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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      CRIMINAL NO. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                       Defendant.             :

             GOVERNMENT’S EMERGENCY MOTION IN LIMINE FOR
          RULE 16 EXPERT DISCOVERY IN LIGHT OF DISCLOSURE THAT
           “PARTS OF THE CIPHERTRACE REPORT ARE UNRELIABLE”

       The United States of America respectfully moves the Court in limine for an emergency

order to compel discovery pursuant to Fed. R. Crim. P. 16(b)(1)(C) from the defense relating to

the proffered defense expert Jonelle Still, see ECF Nos. 145, 157, 159, in light of the disclosure

by counsel for Jonelle Still’s employer, Ciphertrace—but not defense counsel themselves—that

“parts of the Ciphertrace Report are unreliable.” Ltr. from J. Jay III to the Hon. R.D. Moss (Feb.

1, 2024), attached as Ex. A (the “Ciphertrace Letter”) (emphasis added). This revelation comes

after months of Daubert proceedings concerning Ms. Still’s proffered expert testimony, and it casts

into doubt whether Ms. Still’s testimony “is the product of reliable principles and methods,” and

whether it “reflects a reliable application of the principles and methods to the facts of the case.”

Fed. R. Evid. 702(c)-(d) (emphases added).

       To avoid disruption of the trial schedule, the Court should compel immediate updated

disclosure by the defense of Ms. Still’s expert opinions and the “bases and reasons” for them, see

Fed. R. Crim. P. 16(b)(1)(C)(ii), (iii), to include any information that has come to light in the

months following Ms. Still’s Daubert testimony in August 2023 relating to the newly discovered

unreliability of her Ciphertrace Report. The Court should also order pretrial production of Ms.

Still’s communications and any other out-of-court statements relating to the subject matter of her
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anticipated expert testimony pursuant to Fed. R. Crim. P. 26.2(a). Further relief—including

preclusion and/or limiting of Ms. Still’s testimony because of these revelations’ impact on the

reliability of any testimony or as a sanction for defense counsel’s breaches of their Rule 16

discovery obligations—may be appropriate, depending on the disclosures.

                                        BACKGROUND

       The extended Daubert proceedings in this case are familiar to the Court. On the eve of

jury selection before the prior trial date in September, the defense moved (for the second time) for

a continuance over the government’s objection. See Minute Order (Sept. 13, 2023). The Court

rescheduled the trial to begin on February 12, 2024. See Minute Order (Sept. 22, 2023). The Court

granted the continuance on the express condition that the defense “will not seek leave to designate

any additional expert witnesses at this late date (which is long past the date for identifying

experts).” Id.

       Between the disclosure of Ms. Still’s Ciphertrace Report on August 8, 2023, and February

1, 2024, the government has received no further expert disclosure or discovery from the defense.

       On February 1, 2024, counsel for Ciphertrace, which is a wholly owned subsidiary of

Mastercard, sent a letter to Chambers, attached hereto as Exhibit A. In the letter, Ciphertrace’s

counsel revealed for the first time:

       It recently came to Mastercard’s attention that, contrary to the wording of the
       Ciphertrace Report, some of the data relied upon may be unverifiable and
       unauditable. . . . It also appears that at least some of the data relied upon in the
       Ciphertrace Report may have come from other companies, including Chainalysis.

Ciphertrace Letter at 1. Notably, defense counsel has not made any accompanying disclosures

regarding this significant revelation. No further detail was provided to explain what data in the




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Ciphertrace Report was found to be “unverifiable and unauditable,” or what data may have

originated from other companies “including Chainalysis.”

       The Ciphertrace Letter continued:

       As soon as Mastercard counsel learned about the potential data issues, Mastercard
       launched an expedited, privileged investigation involving internal and outside
       counsel and an outside forensics team. This investigation is ongoing, but we have
       learned enough to conclude that parts of the Ciphertrace Report are unreliable.

Id. Again, no further detail was provided to explain which “parts” of the Ciphertrace Report have

been deemed unreliable. The Ciphertrace Letter also revealed for the first time that Ciphertrace

conducted an internal investigation involving “an outside forensics team”—but provided no detail

about when the investigation was initiated, how long it has proceeded, what “outside forensics

team” was retained, or what, specifically, this investigation has concluded.

       The Ciphertrace Letter stated that “Mastercard has advised defense counsel of this matter.”

Id. The letter, however, was silent about when defense counsel and Ms. Still first became aware

of these issues with “unverifiable and unauditable data” in the Ciphertrace Report, the use of data

“from other companies, including Chainalysis,” the existence of an internal investigation involving

“an outside forensics team,” and Ciphertrace’s conclusion that “parts of the Ciphertrace Report are

unreliable.”

                                          ARGUMENT

       Rule 16 governs both the substance and the timing of expert disclosures. The defense must

disclose “a complete statement of all opinions that the defendant will elicit from the witness in the

defendant’s case-in-chief” as well as “the bases and reasons for them.” Fed. R. Crim. P.

16(b)(1)(C)(iii). These disclosures must be made well in advance of trial: “The time” for such

disclosures “must be sufficiently before trial to provide a fair opportunity for the government to


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meet the defendant’s evidence.” Fed. R. Crim. P. 16(b)(1)(C)(ii). There is also a continuing duty

of disclosure: “A party who discovers additional evidence or material before or during trial must

promptly disclose its existence to the other party or the court.” Fed. R. Crim. P. 16(c).

       The Ciphertrace Letter indicates that the defense has not complied with its duties under

Rule 16 to disclose—“promptly” and on a continuing basis—the substance and the “bases” and

“reasons” for Ms. Still’s anticipated expert testimony. Ms. Still gave sworn testimony before this

Court during a two-day Daubert hearing on August 22 and 23, 2023, regarding her expert opinions

and their bases. If Ms. Still has been informed since then of critical infirmities in the data she

relied on and testified to, and that “parts” of her expert report “are unreliable,” then she would

presumably plan to update the substance of her expert testimony.

       If so—if Ms. Still has changed or adjusted her expert conclusions as a result of information

that came to light through Ciphertrace’s internal investigation—then the government is entitled to

discovery of her updated “opinions” under Rule 16. Given the untimely nature of such a

disclosure, the Court could properly preclude Ms. Still’s amended testimony under Rule 16. If

Ms. Still plans to testify to the same opinions, but is no longer relying on data that she now knows

is “unverifiable” and “unauditable,” then the government is entitled to discovery of her updated

“bases and reasons” under Rule 16. And if Ms. Still plans to make no changes whatsoever to her

expert opinions or the bases and reasons for them, despite being informed that parts of her report

“are unreliable,” that raises significant questions for the Court about whether her testimony should

be allowed at all under Rule 702. 1




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  Depending on the substance of the updated defense expert disclosure, the government reserves
the right to reopen Daubert proceedings concerning Ms. Still. The impending trial date makes
immediate disclosure imperative.
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       That this disclosure did not come from defense counsel, but instead was made by outside

counsel for Ms. Still’s employer, Ciphertrace—and that it came more than five months after Ms.

Still’s Daubert testimony on August 22 and 23, 2023, and just eleven days before jury selection

on February 12, 2024—should disturb the Court as much as the government. Indeed, to date, the

defense has made no disclosure at all about the defects in Ms. Still’s expert report. This context—

the timing, lack of disclosure, and the significance of the Ciphertrace revelations—underscores the

need for the Court to order compliance with Rule 16’s continuing disclosure obligations.

       Further, in light of the Ciphertrace revelations, the defense’s production of Rule 26.2

materials for Ms. Still is particularly important. Ms. Still is a member of the defense team. If she

communicated with Ciphertrace’s internal investigation team regarding the subject matter of her

testimony, that would fall within the ambit of Rule 26.2. If she communicated with defense

counsel regarding the internal investigation and its findings as to the unreliability of her expert

report, that, too, would be discoverable under Rule 26.2. Other defense witnesses confirmed the

existence of defense-expert email chains or other written communications related to blockchain

analysis, which presumably involved Ms. Still. See, e.g., 7/19/23 Tr. at 141:2-4 (Prof. Verret)

(“We have had discussions with the experts [about blockchain analysis]. Memorialized – I mean,

we’ve had emails. We have an email chain discussion among the experts.”); 7/20/23 Tr. at 291:17-

19 (Fischbach) (“I have conversed with counsel and the rest of the team. So to some degree there’s

some memorialization there.”). To date, the government has received no production from the

defense pursuant to Fed. R. Crim. P. 26.2(a). In order to avoid interruptions during trial, the

government requests that the defense make a pretrial production of Ms. Still’s Rule 26.2

statements.



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       Finally, depending upon the nature of the disclosures, further relief—including preclusion

of testimony—may be appropriate. Because the propriety of such relief depends on as-yet

undisclosed facts about the substantive impact of the defects in Ms. Still’s expert report and when

they became known to the witness and the defense, prompt and immediate disclosure will assist

all parties to address them and avoid disruption of next week’s trial date.

                                          CONCLUSION

       The Court should order the defense to immediately update its expert disclosure as to the

complete opinions of Ms. Still and the bases and reasons for them, pursuant to Fed. R. Crim. P.

16(b)(1)(C) and (c), in light of the Ciphertrace Letter’s revelation that “parts” of Ms. Still’s report

“are unreliable.” The Court should also order the defense to produce any statements of Ms. Still

relating to the subject matter of her testimony, pursuant to Fed. R. Crim. P. 26.2(a), no later than

February 12, 2024.




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